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  6
  7   Attorneys for Plaintiff

  8
                             UNITED STATES DISTRICT COURT
  9
                           CENTRAL DISTRICT OF CALIFORNIA
 10
 11   BERNHARD KÜHMSTEDT, an                            Case No.: 2:21-cv-10032-SVW-JEM
                                                        Hon. Stephen V. Wilson Presiding
 12   individual,

 13                                            DECLARATION OF FRANK R.
      Plaintiff,
                                               TRECHSEL IN SUPPORT OF
 14                                            PLAINTIFF’S OPPOSITION TO
      v.
 15                                            DEFENDANT’S MOTION TO
                                               DISMISS; REQUEST FOR
 16   ENTTECH MEDIA GROUP, LLC, a
                                               SANCTIONS PURSUANT TO 28
      Delaware limited liability company d/b/a
 17                                            U.S.C. 1927; AND LEAVE TO
      “PAPERMAG.COM”; and DOES 1-10,
                                               AMEND
 18   inclusive,

 19                                                     [Opposition to Defendant’s Motion to
      Defendants.
                                                        Dismiss, Request for Sanctions, and
 20                                                     Leave to Amend filed concurrently
 21                                                     herewith]

 22                                                  Hearing Date: April 11, 2022
 23                                                  Time:        1:30 pm
                                                     Place:       350 W. 1st Street
 24
                                                                  Courtroom 10A
 25                                                                Los Angeles, CA 90012
 26
 27
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        DECLARATION OF FRANK R. TRECHSEL IN SUPPORT OF OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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  1                      DECLARATION OF FRANK R. TRECHSEL
  2      I, Frank R. Trechsel, Esq., declare that I am above eighteen (18) years of age and
  3   am competent to give the testimony set forth below. Said testimony is given from my
  4   own personal knowledge. If called as a witness, I could and would competently and
  5   truthfully testify as set forth below. I am an attorney licensed to practice law in the
  6   State of California and admitted to practice before this Court. I am an associate at
  7   Doniger / Burroughs APC, which represents Plaintiff Bernhard Kuhmstedt.
  8      1. I meet and conferred telephonically with Robert Tauler counsel for Defendant
  9         Enttech Media Group, LLC (“Enttech”) on January 26, 2022, and February 2,
 10         2022. During these telephonic calls, only Kuhmstedt’s direct liability claims in
 11         his Complaint were discussed. Kuhmstedt’s secondary liability claims and
 12         DMCA claims were never discussed.
 13      2. On February 6, 2022, Mr. Tauler looked up and sent a screenshot of
 14         Kuhmstedt’s copyright registration to myself. Mr. Tauler did not challenge the
 15         validity of the copyright. A true and correct copy of the meet and confer email
 16         exchange including the February 6, 2022 email is attached hereto as Exhibit 1.
 17      3. During the same email exchange, Mr. Tauler cited a district court opinion by
 18         Honorable Judge Dale Fischer to support Enttech’s position on the statute of
 19         limitations. My co-counsel Scott Alan Burroughs responded by explaining the
 20         district court opinion cited was reversed and Kuhmstedt’s claims are not barred
 21         by the statute of limitations at least at this stage in the litigation. Mr. Burroughs
 22         cited Michael Grecco Prods., Inc. v. Ziff Davis, LLC 830 F. App’x 233, 234
 23         (9th Cir. 2020) to support his position. Mr. Tauler and Mr. Burrough’s emails
 24         are within the email exchange is attached hereto as Exhibit 1.
 25      4. In a separate email exchange, Mr. Tauler attacked the legitimacy of the case
 26         again without factual or legal support. A true and correct copy of this email
 27         exchange is attached hereto as Exhibit 2.
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        DECLARATION OF FRANK R. TRECHSEL IN SUPPORT OF OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
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  1      I declare under the penalty of perjury and the laws of the United States of America
  2   that the above is true and correct. Executed on March 21, 2022 in Venice, California.
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  4
                                               By:       /s/ Frank R. Trechsel
                                                         Frank R. Trechsel, Esq.
  5                                                      Declarant
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       DECLARATION OF FRANK R. TRECHSEL IN SUPPORT OF OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
